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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SMITH

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SMITH2021 OK 8Case Number: SCBD-7008Decided: 05/17/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 8, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY.* NOT FOR OFFICIAL PUBLICATION.(*For Publication OBA Network Only)


ORDER 
¶1 This Court finds that there is insufficient cause to proceed with the Rule 7 proceeding because the crime does not demonstrate the lawyer's unfitness to practice law. Therefore, no final order of discipline will be issued herein. This matter stands dismissed.
¶2 This Court further orders that the February 22, 2021 Order of Immediate Suspension is hereby vacated.
¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 17th day of May, 2021.
/S/CHIEF JUSTICE
CONCUR: Kane, V.C.J., Kauger, Winchester, Edmondson, Gurich, and Rowe, JJ.
DISSENT: Darby, C.J. and Combs, J.


Combs, J., with whom Darby, C.J., joins dissenting:I would suspend for six months.







STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,v.WILLIAM DONALD SMITH, Respondent.

ORDER OF IMMEDIATE INTERIM SUSPENSION

¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Probable Cause Affidavit, Information, Plea of Guilty, and Journal Entry of Deferred Sentencing, in which William Donald Smith entered pleas of guilty to one count of Driving a Motor Vehicle While Under the Influence of Alcohol, a misdemeanor, in violation of 47 O.S. Supp. 2018, § 11-902(A)(2), to one count of Unlawful Possession of Drug Paraphernalia, a misdemeanor, in violation of 63 O.S.2011, § 2-405, and to one count of Transporting Open Container of Alcoholic Beverage, a misdemeanor, in violation of 37A O.S. Supp. 2018, § 6-101(A)(7).
¶2 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."
¶3 On December 22, 2020, this Court issued a Show Cause Order directing Respondent to show cause, no later than January 7, 2021, why an order of interim suspension from the practice of law should not be entered. Respondent failed to respond and provided no cause why an order of interim suspension should not be entered. Having received certified copies of the papers and orders under RGDP 7.3, and in view of Respondent's failure to respond to this Court's Show Cause Order, this Court orders that William Donald Smith is immediately suspended from the practice of law.
¶4 RGDP 7.2 provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to RGDP 7.4, William Donald Smith has until March 9, 2021, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until March 24, 2021, to respond.
¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 22nd day of February, 2021.

/S/CHIEF JUSTICE

Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Rowe, JJ. - concur
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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited
Title 63. Public Health and Safety
&nbsp;CiteNameLevel

&nbsp;63 O.S. 2-405, Prohibited Acts E- PenaltiesCited
Title 37A. Alcoholic Beverages
&nbsp;CiteNameLevel

&nbsp;37A O.S. 6-101, Personal Prohibited Acts - ViolationsCited


	
	








				
					
					
				

		
		

	
		
			
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